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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         *              CRIMINAL NO. 09-374

VERSUS                                           *

MARK ST. PIERRE                                  *              SECTION “L”



                                     ORDER & REASONS

       The Court has pending before it the Government’s Motion to Reconsider (Rec. Doc. 265)

the Court’s Order and Reasons of December 23, 2010 (Rec. Doc. 260). For the reasons set forth

herein, the Government’s motion is GRANTED.

I.     BACKGROUND

       The background of this case is set forth at length in the Court’s prior Orders and Reasons.

Accordingly, the Court will restate only those facts relevant to this motion and subsequent

developments.

       On October 7, 2010, the Government filed a motion for a Daubert hearing regarding

expert witnesses identified by Defendant Mark St. Pierre, and by Gregory and Linda Meffert.1

The Defendants opposed the motion. On November 18, 2010, the Court granted the

Government’s motion after hearing oral argument from the parties. On December 1, 2010, the

Court held the Daubert hearing requested by the Government regarding two expert witnesses

proposed by Defendant Mark St. Pierre. The Court excluded Jacques Bezou from testifying at



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         Between the filing of the motion and oral argument, Gregory Meffert pleaded guilty to
certain counts of the Second Superseding Indictment, and Linda Meffert entered into a pretrial
diversion program.
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trial, but did not exclude Gray Sexton. At the hearing, counsel for St. Pierre orally moved that

the Court order the Government to pay his expert witness fees incurred in connection with the

hearing. The Court ordered the Government to file an opposition, which it did. The Court

issued an Order and Reasons on December 23, 2010 granting St. Pierre’s motion and ordering

the Government to pay $600 for the experts’ reasonable fees in attending the hearing. (Rec.

Doc. 260).

        The Government has moved for reconsideration of the Court’s December 23, 2010 Order

and Reasons. The Government argues that sovereign immunity bars shifting of litigation costs to

it in criminal proceedings absent a specific Congressional act authorizing that payment, and that

no such authority exists.2

II.     LAW & ANALYSIS

        The Court grounded its December 23, 2010 Order and Reasons on the specific limitations

on discovery in criminal cases. The Government typically has no right to depose a criminal

defendant’s expert witness and the Court expressed concern “that the Government could use

Daubert hearings as substitute depositions to obtain more detailed discovery of a criminal

defendant’s expert witness than the defendant is obligated to provide, and all at the defendant’s

expense.” (Rec. Doc. 260 at 4). Simultaneously, the Court recognized its duty as a gatekeeper

to determine that expert testimony is admissible. To balance these competing interests, the Court

ordered the Government to pay some of St. Pierre’s experts’ fees.




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        While the Court has had this motion for reconsideration under submission, the matter
has proceeded to trial. St. Pierre was found guilty on all fifty-three counts in the Third
Superseding Indictment on May 26, 2011. He presented evidence and testimony in his defense,
but did not present any expert testimony.

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       The Court issued its December 23, 2010 Order and Reasons granting St. Pierre’s motion

without any notice that the Government asserted sovereign immunity as a bar to shifting expert

fees. But the Government has now raised the issue and the Court cannot ignore sovereign

immunity or treat the Government as estopped from asserting it. See Resolution Trust Corp. v.

Miramon, 935 F. Supp. 838, 841 (E.D. La. 1996).

       Ample authority establishes that, absent a specific Congressional authorization, courts are

without power to impose fees on the United States. For example, in United States v. Chemical

Foundation, the Supreme Court modified a judgment from a district court ordering the United

States to pay transcript and copying costs to a party. 272 U.S. 1, 20 (1926). The Supreme Court

held that “Congress alone has power to waive or qualify [sovereign] immunity.” Id. In the

absence of any such specific authority in which Congress consented to having those costs taxed

against the Government (as of 1926), the Supreme Court held that those costs could not be taxed

against the Government and modified the judgment. Id. at 20-21.

       In United States v. Horn, a case closer to these facts, the First Circuit held that attorneys’

fees and costs could not be imposed on the United States as a sanction for prosecutorial

misconduct. 29 F.3d 754, 762 (1st Cir. 1994). The court in Horn thoroughly examined the

federal courts’ inherent supervisory power as a source of authority for imposing a financial cost

on the government, but concluded that the doctrine of sovereign immunity prevailed in the

absence of an express and specific Congressional waiver of immunity to imposition of sanctions

or fees. Although the Fifth Circuit has not addressed this question, it has long recognized the

principle that “a waiver of sovereign immunity must be specific and explicit and cannot be

implied by construction of an ambiguous statute.” Petterway v. Veterans Admin. Hosp.,

Houston, Tex., 495 F.2d 1223, 1225 n.3 (5th Cir. 1974).

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         The Court can identify no specific waiver of sovereign immunity allowing it to shift St.

Pierre’s expert witness fees onto the Government. Therefore, the Court must reconsider and

withdraw its prior Order.

         Nonetheless, the Court remains concerned about the use of pre-trial Daubert hearings in

criminal cases. Although the Court does not believe that any abuse occurred here, there remains

a risk that the Government could seek a Daubert hearing improperly to gain otherwise

impermissible insight into a defendant’s strategy. Confronted with a motion for a Daubert

hearing, a criminal defendant could be presented with a difficult choice between revealing trial

strategy in advance or taking the risk that resisting a pre-trial Daubert determination will

prejudice his or her right to present expert testimony at trial. Cf. United States v. Nacchio, 555

F.3d 1234, 1259 (10th Cir. 2009) (McConnell, J., dissenting). The Court is also cognizant that

pre-trial Daubert hearings could be used to bring pressure on the financial ability of criminal

defendants to put on a defense. Cf. United States v. Stein, 541 F.3d 130 (2nd Cir. 2008). Again,

the Court notes that the Government did not exploit the Daubert hearing in this case, but the risk

remains for future cases.

         The Court lacks the authority to remedy those concerns in this case by shifting expert

fees onto the Government. In future criminal cases, however, the Court will closely scrutinize

requests from the Government for Daubert hearings and may consider requiring that the

Government first agree to foot the bill.

III.     CONCLUSION

         Accordingly, for the foregoing reasons,

         IT IS ORDERED that United States’s Motion to Reconsider (Rec. Doc. 265) is


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GRANTED. The Court’s Order and Reasons of December 23, 2010 (Rec. Doc. 260) is

VACATED.

      New Orleans, Louisiana, this 6th day of June, 2011.




                                                            ____________________________

                                                            United States District Judge




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